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 Keith Hanris, Esq. (KH 4604)
 Braff, Harris, Sukoneck& Maloof
 570 W Mount Pleasant Ave., Suite 200
 Livingston, N J. 07039
 Ph: (973) 994 6677
 kharris@bhsm-law.com

John P. Fuller, Esquire, pro hac vice pending
Fuller, Fuller & Associates, P.A.
12000 Biscayne Blvd., Suite 502
North Miami, FL 33181
(305)891-5199
jpf@ful erfuller.com

Attorneys for Plaintiffs

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   TRENTON DIVISION

THE INDEPENDENCE PROJECT, INC., a New
Jersey Non Profit Corporation, and RONALD
MOORE, Individually,

               Plaintiffs,                                    Case No.
vs.

ANCHORAGE PLAZA, LLC, a New Jersey
Limited Liability Company,

               Defendant.
                                                     /
                                          COMPLAINT

       Plaintiffs, THE INDEPENDENCE PROJECT, INC, a New Jersey Non Profit

Corporation, and RONALD MOORE , Individually, on their behalf and on behal f of all other

mobility impaired individuals similarly situated, (sometimes referred to as "Plaintiff' or

"Plaintiffs"), hereby sue the Defendant, ANCHORAGE PLAZA, LLC, a New Jersey Lim ited

Liability Company (sometimes referred to as "Defendant"), for Injunctive Relief, damages,

attorney's fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42



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 U.S.C. § 12181 et seg. ("ADA") and the New Jersey Law Against Discrimination (N.J.S.A.).

                                 COUNTI
                       VIOLATION OF TITLE III OF THE
             AMERICANS WITH DISABILITIES ACT. 42 USC § 12181, et sea.

1.     Plaintiff, Ronald Moore, is an individual residing at 1002 Central Ave., New Providence,

       NJ 07974, in the County of Union.

2.     Plaintiff, THE INDEPENDENCE PROJECT, INC., is a nonprofit corporation form ed

       under the laws of the St ap of New Jerse y. THE INDE PENDENCE PROJECT, INC.

       maintains its principal office at 1002 Central Ave. , New Providence, NJ 07974, in the

       County of Union.

3.     Defendant, ANCHORAGE PLAZA, LL C, holds title to the s ubject property alleged by

       the Plaintiffs to be operating in violation of Title III of the ADA.

4.     Defendant's property, Anchorage Square is located at 1 747 Hooper Avenue, Toms River,

       New Jersey 08753, in the County of Ocean.

5.     Venue is properly located in the D istrict of New Jersey because venue lies in the judicial

       district of the property situs. The Defendant's property is located in and does business

       within this judicial district.

6.     Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343 , this Cou rt has been giv en original

      jurisdiction over actions whic h arise from the Defendant's violati ons of Title III of the

      Americans with Disabilitie s Act, 42 U.S.C. § 1218 1 et seg .. See also 28 U.S.C . § 2201

      and § 2202.

7.    Plaintiff Ronald Moore is a New Jersey resident, is sui juris, and qualifies as an

      individual with disabilities as defined by the ADA , being a quadr iplegic. Ronald Moore

      has visited the property which forms the basis of this lawsuit on numerous occasions and




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       plans to return to the property in the near future to avail himself of the goods and services

       offered to the public a t the property. The Plaintiff has encou ntered architectural barriers

      at the subject property. The barriers to access at the property have endangered his safety.

      The Plaintiff is also a member of the Plaintiff organiza tion, THE INDEPENDENCE

      PROJECT, INC., discussed below in paragraph 8.

8.    Plaintiff THE INDEPENDENCE PROJECT, INC., is a nonprofit New Jersey

      corporation. Members of this organization include individuals with disabilities as definec
                                                                  I
      by the ADA. The purpose of this organization is to re present the interest of its members

      by assuring places of public accommodation are ac cessible to and u sable by the disabled

      and that its members are not discriminated against because of their disabilities.

9.    THE INDEPENDENCE PROJECT, INC, and its members have suffered and will

      continue to suffer direct and indi rect injury as a resul t of the Defendant's di scrimination

      until the Defendant has compelled to comply with the req uirements of the ADA. One or

      more of its members has suffe red an injury that wou ld allow it to bring suit in its own

      right. THE INDEPENDENCE PROJECT, INC. has also been discriminated against

      because of its association with its disabled members and their claims.

10.   Defendant owns, leases, leases to, or operates a place of public accommodation as

      defined by the ADA and the re gulations implementing the ADA, 28 C FR 36.201(a) and

      36.104. Defendant is responsible for co mplying with the obligations of the AD A. The

      place of public accom modation that the D efendant owns, operates, leases or leases to is

      known as Anchorage Square, and is located at 1747 Hoo per Avenue, Tom s River, NJ

      08753.

11.   THE INDEPEN DENCE PROJEC T, INC . and Ronald Moor e have a realistic, cred ible,




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          existing and continuing threat of discrimination from the Defendant's non-compliance

          with the ADA with respect to this property as described but not necessarily limited to the

          allegations in paragraph 13 of this complaint. Plaintiffs have reasonable groun ds to

          believe that they wil l continue to be subj ected to discrim ination in violat ion of the ADA

          by the Defendant. Ronald Moore desires to visit Anchor age Square not only to avail

          himself of the goods an d services available at the property but to assure himself that this

          property is in compliance with the ADA so that he and others similarly situated will have

         full and equal enjoyment of the property without fear of discrimination.

12.      The Defendant has discriminated against the individual Plaintiff and members of the

         corporate Plaintiff organization by denying them acc ess to, and full and eq ual enjoyment

         of, the goods, services, facilities , privileges, advantages and/or accom modations of the

         buildings, as prohibited by 42 U.S.C. § 12182 et seq.

13.      The Defendant has disc riminated, and continues to discrim inate, against the P laintiffs in

         violation of the ADA by failing to, inter al ias have access ible facilities by Jan uary 26,

         1992 (or January 26, 1993, if Defe ndant has 10 or fewer employees and gross receipts of

         $500,000 or less).     A preliminary inspection of Anchorage Square has shown that

         violations exist These violations that Ronald Moore personally encountered or observed

         include, but are not limited to:

         Parking and Exterior Accessible Route

      a) Parking spaces throughout Anchorage Square are not maintained; contain abrupt changes
         of level and lack adequate access aisles in some locations, violatin g Sections 502 an d
         502.4 of the 2010 Accessibility Standards. These conditions during numerous visits
         prevented Mr. Moore from unloading from his van freely and safely. On certain
         occasions he would park away from the plaza to insure he could acces s his van.

      b) Curb ramps provided to access stores at Anchor age Square are unsafe for wheelchair
         users and are not provided i n some areas of the center. The curb ramps contain excessive


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       slopes, abrupt changes of level and lack level landings, violating Sections 402 and 406 of
       the 2010 Accessibility Standards. Mr. Moore dealt with a lack of man euvering space at
       the top of the curb ramp. These conditions are uns afe for Mr. Moore w hen he ac cesses
       the curb-i-amps- -      -                                    — ——             -

   c) The exterior accessible route from parking spaces at Anchorage Square fails to provide a
      safe accessible route to ramps or curb ramps, violating Section 402 of the 2010
      Accessibility Standards. Mr. Moore was forced to trav el in the traffic a rea of the c enter
      to get to the curb ramp.


   d) Anchorage Square fails to provide a safe accessible route to the adjacent
      street/sidewalk/bus stop, violating Secti on 206.2. 1 of the 2010 Accessi bility Standards.
      The lack'•J of an accessible route prevents the option of public transportation for Mr.
      Moore.

      Access to Goods and Services

   e) Mclntyre's Pub fails to provide accessible dining tables for those in wheelchairs,
      violating Section 902 of the 2010 Accessibility Standards. Mr. Moore was unable to dine
      comfortably due to a lack of accessible tables.

   f) Payment counters thro ughout Anchorage Square including Mclntyre's Pub are mo unted
      beyond the reach of Mr. Moore, violating Sections 308 and 904 of the 2010 Accessibility
      Standards.

   g) Entering tenants is impeded by abrupt change s of level and/or slopes at the base and
      improper door hardware, violating Section 404 of the 2 010 Accessibility Standards. Mr.
      Moore's wheelchair can be da maged by abru pt changes of level. Round do or knobs are
      hard to use for Mr. Moore due to palsy hands.

      Restrooms

  h) Restrooms at Mclntyre's Pub and Sal on Solutions were re ported to be unsa fe for use by
     the plaintiff. Inspection revealed Mr. Moore was unable to use the restrooms safely due to
     a lack of acces sibility. Including, inaccessible wat er closets which lack prope r controls
     and wheelchair maneuvering space violating Section 601 of the 2010 Accessibility
     Standards.

  i) Restrooms at Mclntyre's Pub and Salon Soluti ons prov ide dispenser s beyond reach of
     wheelchair users and are inaccessible to the plai ntiff, violating Secti on 308 of the 20 30
     Accessibility Standards.

  j) Lavatories at Mcln tyre's Pub and Salon Solutions lack, knee clearance and acc essibility
     preventing the plaintiff from freely accessing the lavatory, violating Section 606 the 2010
     Accessibility Standards.


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       k) Mclntyre's Pub and Salo n Solutions provide restrooms that contain improper centerlines
          for the water closets and flush controls mounted on the wall side, violating Section 604 of
—-        the 20-10-Accessibility-Standards. Mr. Moo re was una ble to-access flush controls-while
          in the restrooms due to improper location.

       1) Using restrooms doors at Mclntyre's Pub and Salon Solut ions in Anchor age Squa re is
          impeded by round door knobs, imprope r signage and a lac k of maneu vering clea rance,
          violating Section 404 of the 2010 Access ibility Standa rds. Round door knob s impede
          Mr. Moore from easily accessing doors, levered door handles are required.

          Maintenance
                                                                                  t
       m) he accessib le features of the facility are not maintained, creating barriers to access for the
          Plaintiff, as set forth herein, in violation of 28 CFR 36.211.

 14.      All of the foregoing violations are also violations of the 1991 Americans with Disabilities

          Act Accessibility Guidelines (ADAAG), and the 2010 Sta ndards for Acc essible Design,

          as promulgated by the U.S. Department of Justice.

 15,      The discriminatory violations described in para graph 13 are not an exclusive list of the

          Defendant's ADA violations. Plaintiffs require the inspection of the Defendant's place of

          public accommodation in ord er to photograph and m easure al l of the dis criminatory acts

          violating the ADA and all of the barriers to access. The individual Plaintiff, the members

          of the Plaintiff group, and all other individuals similarly situate d, have been denied

          access to, and have been den ied the benefits of servic es, programs and activit ies of the

          Defendant's buildings and its facilities, and have otherw ise been discrim inated against

          and damaged by the Defen dant because of the Defend ant's ADA vio lations, as set f orth

          above.    The individual Plaintiff, the members of the Plaintiff group and all others

          similarly situated will continu e to suffer such discrimination, injury and dama ge without

          the immediate relief provi ded by the AD A as reque sted herein. In order to rem edy this

          discriminatory situation, the Plain tiff requires an insp ection of the Defend ant's plac e of




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        public accommodation in order to dete rmine all of the are as of non-compliance with the

        Americans with Disabilities Act.

 16.    Defendant has discrimina ted against the indivi dual and corpora te Plaintiff by denying

        them access to full and equal enjoyment of the goods, services, facilities, privileges,

        advantages and/or acc ommodations of its p lace of public accommodation or commercial

        facility in violation of 42 U.S.C. § 12181 et sea, and 28 CFR 36.302 et seq. Furthermore,

       the Defendant continues to discriminate against the Plaintiffs, and all those similarly

       situated by faili ng to make reas onable modifications in po licies, practices or procedures,

       when such modificatio ns are necess ary to afford all offer ed goods, services , facilities,

       privileges, advantag es or accom modations to indi viduals with disa bilities; and by fai ling

       to take such efforts that may be necessary to ensure that no i ndividual wi th a disability is

       excluded, denied services, segregated or otherwise treated differently than other

       individuals because of the absence of auxiliary aids and services,

17.    Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

       Considering the balance of hards hips between the Plain tiffs and Defendant, a reme dy in

       equity is warranted. Furthermore, the public interest would not be disserved by a

       permanent injunction.

18.    Plaintiffs have retained the und ersigned counsel and is en titled to recover attorney's fees,

       costs and litiga tion expense s from the Def endant pursu ant to 42 U.S.C. § 12205 and 28

       CFR 36.505.

19.    Defendant is required to remove the existing architectural barriers to the physically

       disabled when such rem oval is read ily achievable for its pl ace of public accommodation

       that have existed prior to Jan uary 26, 1992, 28 CFR 36.304(a); in the alt ernative, if the re




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       has been an alteration to Defendant's place of publ ic accommodation sinc e Janu ary 26,

       3992, then the Defendant is requi red to ensure to the ma ximum exte nt feasib le, tha t the

       altered portions of the facility are readi ly accessible to and use able by indivi duals with

       disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the

       Defendant's facility is one which was designed and constructed for first occupancy

       subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant's

      facility must be readily accessible to and useable by individu als vfith disabi lities as
                                                                                  i

       defined by the ADA.

20.   Notice to Defendant is not required as a result of the Defendant 's failure to cure the

      violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer

      employees and gross receip ts of $500, 000 or less ). All other condit ions precedent have

      been met by Plaintiffs or waived by the Defendant.

21.   Pursuant to 42 U.S,C. § 12188, this Cour t is provided with authority to grant Pla intiffs

      Injunctive Relief, including an or der to require the Defendants to alter Anchorage Square

      to make its facilities readily accessible and useable to the Plaintiffs and all oth er persons

      with disabilities as define d by the AD A; or by clo sing the facility un til suc h time as th e

      Defendant cures its violations of the ADA.

WHEREFORE, Plaintiffs respectfully request:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the s ubject lawsuit is in v iolation o f Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq.

      b.     Injunctive relief against the Defendant including an order to make all readily

             achievable alterations to the facility; or to make such facility readily accessible to




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              and usable by individuals with disabilities to the extent required by the ADA; and

              to require the Defendant to make reasonable modifications in policies, practices or

              procedures, when such modifications are necess ary to afford all offered good s,

              services, facilities, privileges, advantages or accom modations to indivi duals with

              disabilities; and by fai ling to take such steps that may be necessary to ensure that

              no individual with a disability is excluded, denied services, segregated or

              otherwise| treated differently than other individuals because of the absence of

              auxiliary aids and services.

      c.      An awa rd of attorney's fees, costs and litigatio n expenses purs uant to 42 U.S .C.

              § 12205.

      d.      Such other relief as the Court deem s just and pro per, and/or is allowable unde r

              Title III of the Americans with Disabil ities Act. The Order shall furthe r require

              the Defendant to maintain the required accessible features on an ongoing basis.

                                COUNT II
           VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION

22.   Plaintiffs reallege all prior obligations as if fully set forth herein. Plaintiffs repeat the

      allegations contained in all of the proceeding paragraphs.

23.   Defendant's facility is a place of public acco mmodation as defin ed by N.J.S.A . 10:5-5,

      (New Jersey Law Against Discrimination).

24.   New Jersey law provides that all persons shall have the opportunit y t o obtain all the

      accommodations, advantages, facilities and privileges of any place of public

      accommodation without discrimination on the basis of disability. This opportunity is

      recognized and dec lared to be a civil right. (See, N.J.S.A. 10:5-4.)

25.   As a result of the aforementioned discrim ination, Pla intiff Ronald Moore h as sustained


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        emotional distress, mental anguish and suffering and humi liation, and othe r injurie s, in

        violation of the New Jersey La w Against Discrimination.

        WHEREFORE, Ronald Moore demands judgment for damages, attorneys' fees,

 litigation expen ses, including expert fees and costs pursuan t to the New Jersey Law Against

 Discrimination.

        Dated: M        \1                    Respectfully S


                                             KEITH HARRIS, ESQ.
                                             Keith Hams, Esq. (KH4604)
                                             Braff, Harris, Sukoneck& Ma loof
                                             570 W Mount Pleasant Ave., Suite 200
                                             Livingston, N.J. 07039
                                             Ph: (973) 994-6677
                                             Fax: (973) 994-1296
                                             kJiarris@bhsm-law.com

                                             John P. Fuller, Esquire, pro hac vice pending
                                             FULLER,FULLER & ASSOCIATES,P.A.
                                             12000 BiscayneBlvd., Suite 502
                                             North Miami, FL 33181
                                             Ph: (305) 891-5199
                                             Fax:(305) 893-9505
                                             ipf@fullerfuller.com

                                             Counsel for Plaintiffs
                                             The Independence Project, Inc. and Ronald Moore




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